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 9                    UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WASHINGTON
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     UNION GOSPEL MISSION OF                       NO. 1:23-cv-3027-MKD
11   YAKIMA, WASH.,
                                                   DEFENDANTS’ REPLY IN
12                      Plaintiff,                 SUPPORT OF MOTION TO
                                                   DISMISS
13            v.
                                                   MAY 31, 2023 AT 9 AM
14   ROBERT FERGUSON, in his                       WITH ORAL ARGUMENT
     official capacity as Attorney
15   General of Washington State;
     ANDRETA ARMSTRONG, in
16   her official capacity as Executive
     Director of the Washington State
17   Human Rights Commission; and
     DEBORAH COOK,
18   GUADALUPE GAMBOA, JEFF
     SBAIH, and HAN TRAN, in
19   their official capacities as
     Commissioners of the
20   Washington State Human Rights
     Commission,
21
                        Defendants.
22

                                                                ATTORNEY GENERAL OF WASHINGTON
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 1                               I.         INTRODUCTION

 2         The Union Gospel Mission of Yakima (UGM) continues to seek to

 3   manufacture a hypothetical case or controversy against Defendants that is wholly

 4   speculative. UGM’s response makes clear that its dispute is with the Washington

 5   Supreme Court’s decision in Woods v. Seattle’s Union Gospel Mission,

 6   481 P.3d 1060 (Wash. 2021), cert. denied, 142 S. Ct. 1094 (2022). But the

 7   theoretical injuries that UGM claims from Woods are too speculative for

 8   standing, were not caused by Defendants, cannot be redressed by a favorable

 9   decision by this Court, and are not ripe. UGM’s complaint must be dismissed

10   because it fails to raise any justiciable claims.

11                                    II.    ARGUMENT

12   A.    UGM Fails to Establish Standing

13         1.     With no credible threat of enforcement, there is no injury in fact

14         Unable to allege any conduct by Defendants against it, the best UGM can

15   do to substantiate its claim of injury is argue that Defendants have not said they

16   won’t seek to enforce the Washington Law Against Discrimination (WLAD)

17   against it. That means next to nothing, given that the filing of this lawsuit is the

18   first Defendants have heard about UGM’s alleged religious hiring practices.

19   Simply put, where, as here, “the prospect of future enforcement” is merely

20   “speculative” on plaintiff’s part, Susan B. Anthony List v. Driehaus,

21   573 U.S. 149, 165 (2014), there is no credible threat of prosecution. See Thomas

22   v. Anchorage Equal Rts. Comm’n, 220 F.3d 1134, 1140 (9th Cir. 2000).

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 1         And while the government’s “failure to disavow enforcement of the law”
 2   may “weigh in favor of standing,” ECF No. 15 at 14, here, there are insufficient

 3   facts to determine whether the WLAD applies at all. UGM filed this lawsuit out

 4   of the blue, and its complaint, with its contradictory allegations and exhibits,

 5   makes it impossible to tell whether or how the WLAD would apply to UGM’s

 6   employment practices. Compare ECF No. 1 ¶ 128 (“[T]he Mission employs non-

 7   ministerial employees in addition to ‘ministers.’”), and ¶ 142 (alleging IT

 8   Technician and Operations Assistant “are not ‘ministerial’ employees”), with

 9   ECF No. 1-6 at 3 (IT Technician’s “Duties and Responsibilities” include

10   “[m]inister to our clients, staff, donors, and volunteers”), and ECF No. 1-7 at 3

11   (same for Operations Assistant). It is not clear how the law applies to UGM, and

12   that makes this case different from Driehaus, Tingley, and Yellen.

13   Cf. ECF No. 15 at 14.

14         UGM concedes that two of the factors “[t]he Ninth Circuit looks to” in

15   evaluating whether there is a credible threat of enforcement are (1) whether the

16   prosecuting authorities have communicated a specific warning or threat to initiate

17   proceedings, and (2) whether there is a history of past prosecution or

18   enforcement. Id. at 13 (citing Tingley v. Ferguson, 47 F.4th 1055, 1067

19   (9th Cir. 2022)). Neither factor favors UGM’s standing.

20         First, given Defendants’ lack of dealings with UGM leading up to this

21   lawsuit, it is no surprise that UGM cannot identify any communication from

22   Defendants making a “specific warning or threat to initiate proceedings” against

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 1   UGM—like the government letters in Yellen and California Trucking
 2   Association. Arizona v. Yellen, 34 F.4th 841, 850 (9th Cir. 2022); see

 3   Cal. Trucking Ass’n v. Bonta, 996 F.3d 644, 653 (9th Cir. 2021). UGM simply

 4   ignores the inconvenient (and dispositive) differences in warnings or threats that

 5   distinguish those credible-threat-of-prosecution cases from this one. See

 6   ECF No. 15 at 14-15.

 7         Second, UGM has no choice but to admit “sparse enforcement in the

 8   past”—by which it is referring to the Attorney General’s Office’s (AGO) single,

 9   unrelated inquiry into Seattle Pacific University’s (SPU) hiring practices last

10   year. Id. at 17-18. But rather than a record of sparse enforcement, there is no

11   record of enforcement by Defendants.1 UGM chalks this up to “the WLAD’s

12   prohibition on sexual orientation discrimination as applied to religious

13   organizations” being “new.” Id. at 17. This argument is based on UGM’s

14   continued insistence that, “before the Woods decision in 2021, religious

15   organizations were completely exempt from the WLAD.” Id. But that is a bald

16   misstatement of the law, as Defendants pointed out in their opening papers. See

17
18         1
               The inquiry letter to SPU made no determination as to whether SPU’s
19   hiring practices violated any law, and did not threaten any legal action. See
20   ECF No. 1-5. And its request that SPU retain records during its inquiry, id. at 3,
21   5, as the AGO routinely does in order to ensure that information relevant to its
22   inquiry is preserved, is in no way a foregone conclusion of litigation.

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 1   ECF No. 11 at 19 n.3. UGM completely ignores the Washington Supreme Court’s
 2   2014 decision in Ockletree v. Franciscan Health System, 317 P.3d 1009

 3   (Wash. 2014), which held that the WLAD’s religious employer exemption could

 4   not be applied to an employee “whose job description and responsibilities are

 5   wholly unrelated to any religious practice or activity.” Id. at 1028 (controlling

 6   opinion of Wiggins, J.). UGM never even once mentions Ockletree in its

 7   opposition, and fails to allege any history of WLAD enforcement by Defendants

 8   against any religious employer in the decade since Ockletree was decided.

 9         UGM lastly argues that “the recently re-written WLAD has chilled” its

10   First Amendment rights. ECF No. 15 at 16. But the U.S. Supreme Court has been

11   clear that the “chilling effect associated with a potentially unconstitutional law

12   being on the books is insufficient to justify federal intervention in a pre-

13   enforcement suit.” Whole Women’s Health v. Jackson, 142 S. Ct. 522, 538 (2021)

14   (internal quotation marks omitted). And the Washington Supreme Court’s

15   decision in Woods and the AGO’s letter, “do[] not, as the [Plaintiff] presupposes,

16   require that [Defendants] reach the specific enforcement decision that the

17   [Plaintiff’s] current [employment] policies violate [the] law.” Sch. of the Ozarks,

18   Inc. v. Biden, 41 F.4th 992, 998 (8th Cir. 2022). UGM fails to address these cases,

19   and its speculative fear of enforcement does not create Article III standing.

20         2.     UGM’s alleged injuries are not caused by Defendants

21         UGM’s alleged injuries in this case arise from their disagreement with the

22   law as set forth by the U.S. Supreme Court and the Washington Supreme Court.

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 1   Defendants cannot be considered the cause of those legal standards. Indeed,
 2   UGM does not deny that the only “attacks” on its religious hiring practices have

 3   been by third parties, not Defendants. See ECF No. 15 at 20-21. Nonetheless,

 4   UGM takes the remarkable position that Defendants are the cause of its alleged

 5   injuries simply because they have the theoretical power to enforce the WLAD

 6   against it at some unknown time in the future. See id. But none of the cases UGM

 7   cites for this incredible proposition involved a situation remotely similar to the

 8   one presented here: Where a plaintiff is not challenging a state statute as written

 9   by the legislature, but instead challenges a state supreme court’s interpretation of

10   a state law. No case cited by UGM suggests that a plaintiff’s alleged injuries may

11   be fairly traceable to a state official who might be called upon to follow the

12   interpretation of a state law by the state’s highest court.

13         3.     UGM’s alleged injuries are not redressable

14         UGM also cannot satisfy the redressability prong of standing because (1)

15   this Court lacks the authority to overturn Woods; and (2) even if the Court were

16   to grant the relief requested by UGM, private parties would still be free to bring

17   employment discrimination actions under the WLAD against the organization,

18   leaving UGM susceptible to the same alleged injuries that would result from

19   Defendants’ hypothetical enforcement of the WLAD against UGM.

20         Seeking to avoid these fatal flaws, UGM disclaims that it is asking this

21   Court to review Woods or to declare that the case was wrongly decided by the

22   Washington Supreme Court. See ECF No. 15 at 22. But UGM’s prayer for relief

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 1    explicitly asks this Court to “[d]eclare that the recent narrowed interpretation of
 2    the WLAD” by the Washington Supreme Court “violates the Mission’s First

 3    Amendment rights.” ECF No. 1 at 50. That is relief the Court cannot grant.

 4          Now pivoting, UGM suggests it seeks only to restrain Defendants from

 5    enforcing the WLAD against the organization, not to overturn Woods. But UGM

 6    cannot explain how this Court could rule in its favor without declaring that Woods

 7    was incorrectly decided by the Washington Supreme Court. As Defendants noted

 8    in their motion to dismiss, only the U.S. Supreme Court has the power to review

 9    or overturn a decision of the Washington Supreme Court—and here, the U.S.

10    Supreme Court has already declined to review Woods. ECF No. 11 at 20-21.2

11    UGM’s request is unprecedented, which is why UGM fails to point to a single

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13          2
                UGM also claims “the State” opposed the petition for certiorari filed by
14    Seattle’s Union Gospel Mission in the Woods case and “admitted” certain points
15    in its supposed opposition brief. ECF No. 15 at 22-23. This assertion is false.
16    Neither the State of Washington nor any Defendants were involved in the Woods
17    case. Instead, the opposition to the petition for certiorari in Woods that UGM cites
18    was filed by private attorneys representing Mr. Woods. See Br. in Opp’n to Pet.
19    for Writ of Cert., Seattle’s Union Gospel Mission v. Woods, 142 S. Ct. 1094
20    (2022) (No. 21-144), 2021 WL 5138203 (listing Mr. Woods’s private counsel).
21    UGM presumably should be well aware of this point because it is represented
22    here by the same law firm that filed the petition for certiorari in Woods.

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 1    case in which a federal district court declared that a state supreme court’s
 2    interpretation of a state statute was unconstitutional—much less any federal

 3    district court decision that enjoined state agencies from enforcing a state law

 4    consistent with their state supreme court’s interpretation of the statute.

 5          UGM also relies on Wolfson v. Brammer, 616 F.3d 1045 (9th Cir. 2010),

 6    to argue that its alleged injuries are redressable despite this Court’s inability to

 7    overturn Woods. In Wolfson, the plaintiff challenged canons of the Arizona Code

 8    of Judicial Conduct that applied to judicial candidates. Id. at 1052-53. The

 9    plaintiff sued the members of the Arizona Commission of Judicial Conduct, the

10    Arizona Supreme Court Disciplinary Commission, and the Arizona Chief Bar

11    Counsel. Id. at 1051. Defendants argued the plaintiff’s alleged injuries were not

12    redressable because they lacked authority to change the Arizona Code of Judicial

13    Conduct, a power reserved only for the Arizona Supreme Court. Id. at 1056.

14          The Ninth Circuit held that the plaintiff’s alleged injuries were redressable

15    because a favorable ruling would entirely prevent enforcement of the challenged

16    policies. The court emphasized that “[w]ithout a possibility of the challenged

17    canons being enforced, those canons will no longer have a chilling effect on

18    speech.” Id. at 1057 (emphasis added). Here, in sharp contrast, Defendants are

19    not the only persons who have authority to enforce the WLAD against UGM.

20          As UGM admits, private parties may bring actions to enforce the WLAD.

21    See Wash. Rev. Code § 49.60.030(2). Indeed, “a plaintiff bringing a

22    discrimination case [under the WLAD] assumes the role of a private attorney

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 1    general, vindicating a policy of the highest priority.” Marquis v. City of Spokane,
 2    922 P.2d 43, 49 (Wash. 1996). Unlike Wolfson, enjoining Defendants from

 3    enforcing the WLAD will not leave UGM “without a possibility” of enforcement

 4    of the WLAD against it. 616 F.3d at 1057. UGM dooms its own case by admitting
 5    it paused hiring for two positions because “third parties could file complaints

 6    under the WLAD” against the organization. ECF No. 15 at 11.

 7          UGM briefly suggests that the ability of private parties to bring WLAD
 8    actions against the organization does not defeat redressability, selectively quoting

 9    snippets from Larson v. Valente, 456 U.S. 228, 243 n.15 (1982), and

10    Massachusetts v. E.P.A., 549 U.S. 497, 526 (2007). ECF No. 15 at 24. But neither

11    case involved a situation where a favorable decision by a court would leave third

12    parties free to enforce the challenged law against the plaintiff. The redressability

13    prong of standing cannot be met when it “depends on the unfettered choices made

14    by independent actors not before the courts and whose exercise of broad and

15    legitimate discretion the courts cannot presume either to control or to predict.”

16    ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989); see also Vegan Outreach,

17    Inc. v. Chapa, 454 F. App’x 598, 600-01 (9th Cir. 2011) (holding that plaintiff

18    lacked standing because a favorable result would not be “likely [to] prevent the

19    law from being applied”).

20          In sum, UGM asserts that its First Amendment rights are chilled by the

21    possible enforcement of the WLAD against it in a manner consistent with Woods.

22    UGM maintains that it “needs judicial relief so it can fill its open IT technician

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 1    and operations assistant positions, and post its hiring statements, without facing
 2    penalties for violating the WLAD.” ECF No. 15 at 25. But enjoining Defendants

 3    from enforcing the WLAD against UGM will not change the law, will not prevent

 4    enforcement of the WLAD against it by private parties, and cannot immunize

 5    UGM from “facing penalties for violating the WLAD.” Id. As a result, a

 6    favorable decision for UGM in this case would not redress its alleged injuries.

 7    B.    UGM’s Claims Are Not Ripe for Review

 8          Finally, UGM asserts that its claims are ripe for review because the issues

 9    presented are “purely legal and no further facts need [to be] developed” and “the

10    challenged action is final.” Id. at 24. UGM is wrong on both points.

11          UGM asserts that “[t]he record shows” that its “coreligionist hiring

12    practices” violate the WLAD as interpreted by Woods, id. at 24-25, and that “[t]he

13    only facts the Court needs to decide that legal issue are already before it: the

14    Mission’s religious beliefs and employment requirements.” Id. at 25. But this

15    argument is belied by UGM’s own pleadings in this case. Although UGM’s

16    complaint asserts at various points that it employs both ministerial and non-

17    ministerial employees, the exhibits UGM attached to its complaint—part of its

18    complaint pursuant to Fed. R. Civ. P. 10(c)—contradict these allegations by

19    repeatedly asserting that UGM only employs ministerial employees.

20    See supra at 3; ECF No. 1-2 at 2 (stating that UGM “view[s] all our permanent

21    staff as ministers”); ECF No. 1-4 at 2 (indicating that UGM requires all

22    employees to “accept the role and responsibility of fulfilling the YUGM’s

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 1    uniquely Christian purposes (what is called a minister by law & judicial
 2    decision)”).

 3          Of course, if all of UGM’s employees are truly ministers, the WLAD

 4    would not apply to its employment decisions. But UGM’s own pleadings create

 5    conflict in the record on this question. And as the Ninth Circuit has noted,

 6    “particularly where constitutional issues are concerned, problems such as the

 7    ‘inadequacy of the record,’ or ‘ambiguity in the record,’ will make a case unfit

 8    for adjudication on the merits.” Scott v. Pasadena Unified Sch. Dist.,

 9    306 F.3d 646, 662 (9th Cir. 2002) (citations omitted). This case is not ripe for

10    review where UGM’s own pleadings make contradictory allegations as to

11    whether it has any non-ministerial employees.

12          Nor is there any final “action” toward UGM to challenge. Even assuming

13    the “action” is the AGO’s private inquiry letter to a different entity, that letter

14    made clear that the AGO made no determination as to whether there were any

15    violations of law, did not threaten any legal action, and did not compel any further

16    action. See ECF No. 1-5.

17          UGM’s complaint is wholly “devoid of any specific factual context” or

18    any threat of enforcement. Thomas, 220 F.3d at 1141. “This is a case in search of

19    a controversy” and should be dismissed. Id. at 1137.

20                                 III.   CONCLUSION
21          UGM’s complaint should be dismissed with prejudice.
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 1          DATED this 10th day of May, 2023.
 2                                   Respectfully Submitted,

 3                                   ROBERT W. FERGUSON
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 3    the United States District Court using the CM/ECF system. I further certify that

 4    all participants in the case are registered CM/ECF users and that service will be

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 6          DATED this 10th day of May, 2023.

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 8                                           TIFFANY JENNINGS
                                             Legal Assistant
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